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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                    )
MICHAEL DARDASTIAN, individually and on
                                    )                       Case No. 17 CV 4327 (LLS)
behalf of COOPER SQUARE VENTURES, LLC
                                    )
NDAP, LLC and CHANNEL REPLY         )
                   Plaintiffs,      )
                                    )
      -against-                     )                       NOTICE OF APPEARANCE
                                    )
DAVID GITMAN, JEREMY FALK, SUMMIT   )
ROCK HOLDINGS, LLC, ACCEL COMMERCE, )
LLC, DALVA VENTURES, LLC,           )
KONSTANTYN BAGAIEV, OLESKKII        )
GLUKHAREV and CHANNEL REPLY, INC.   )
                Defendants.         )
                                    )

       PLEASE TAKE NOTICE that Brian S. Cousin of the law firm Dentons US LLP

hereby enters his appearance as counsel for Defendants David Gitman, Dalva Ventures, LLC

and Channel Reply, Inc. in the above-captioned matter. I certify that I am admitted to

practice in this Court.

Dated: June 13, 2017

                                             Respectfully submitted,


                                               /s/Brian S. Cousin
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                                             Dalva Ventures, LLC and Channel Reply, Inc.
